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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Southern District
                                                   __________  District of
                                                                        of Florida
                                                                           __________

             TOMORROW BLACK-BROWN,                                  )
            on behalf of herself and all others                     )
                   similarly situated,                              )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No.
                                                                    )
            TERMINIX INTERNATIONAL                                  )
          COMPANY LIMITED PARTNERSHIP                               )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) TERMINIX INTERNATIONAL
                                           COMPANY LIMITED PARTNERSHIP,
                                           c/o THE CORPORATION TRUST COMPANY
                                           CORPORATION TRUST CENTER
                                           1209 ORANGE ST.
                                            WILMINGTON, DE 19801


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Jonathan B. Cohen, Esq.
                                           Morgan & Morgan Complex Litigation Group
                                           201 N. Franklin St., 7th Floor
                                           Tampa, FL 33602




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:             08/22/2016
                                                                                        Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION


  TOMORROW BLACK-BROWN,
  on behalf of herself and all others
  similarly situated,                                CASE NO.: ______________________

          Plaintiff,

  v.

  TERMINIX INTERNATIONAL
  COMPANY LIMITED PARTNERSHIP,

        Defendant.
  __________________________________/


                                 CLASS ACTION COMPLAINT

          Plaintiff Tomorrow Black-Brown (“Plaintiff”), individually and on behalf of all others

  similarly situated, sues Defendant Terminix International Company Limited Partnership

  (“Terminix” or “Defendant”), for violations of the Telephone Consumer Protection Act, 47

  U.S.C. §227, et seq. (“TCPA”), and alleges on personal knowledge, investigation of her counsel,

  and on information and belief as follows:

                                        NATURE OF ACTION

       1. Plaintiff brings this class action for damages and other equitable and legal remedies

  resulting from the illegal conduct of Defendant in negligently or knowingly and/or willfully

  placing calls to the cellular telephones of Plaintiff and putative Class Members for non-

  emergency purposes using an automatic telephone-dialing system without their prior express

  consent, in violation of the TCPA.




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                                      JURISDICTION AND VENUE

      2. This Court has federal question jurisdiction over this matter because Plaintiff’s claims

  arise from violations of the TCPA, which is a law of the United States. This Court also has

  original jurisdiction under 28 U.S.C. § 1332(d)(2) because the matter in controversy exceeds

  $5,000,000.00, as each putative Class Member is entitled to $500.00 per call negligently placed

  in violation of the TCPA, or $1,500.00 per call knowingly and/or willingly placed in violation of

  the TCPA, exclusive of attorneys’ fees, pre-judgment interest, and costs.

      3. Under 28 U.S.C. § 1391, venue is proper in the Southern District of Florida (Miami

  Division) because Defendant conducts business in this District, and has intentionally availed

  itself of the laws and markets within this District.

                                               PARTIES

      4. Plaintiff, Tomorrow Black-Brown, is and was at all times relevant to this matter a

  resident of the state of Florida.

      5. Defendant, Terminix International Company Limited Partnership, is a Delaware

  corporation.   At all times relevant to this matter, Defendant was a citizen of the state of

  Tennessee with a principal place of business in Memphis, Tennessee.

   THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C. § 227, et seq.

      6. The TCPA was enacted by Congress in 1991 to address consumer complaints about

  rampant telemarketing practices.

      7. Section 227(b)(1)(A)(iii) bans the use of an autodialer to place telephone calls to cellular

  telephones unless the consumer has provided prior written consent to receive such calls, or the

  calls are placed for emergency purposes.




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     8. The TCPA is designed to protect individual consumers from receiving intrusive and

  unwanted telephone calls. Mims v. Arrow Fin. Servs., LLC, --US--, 132 S. Ct., 740, 745, 181, L.

  Ed. 2d 881 (2012).

     9. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of modern

  civilization, they wake us up in the morning; they interrupt our dinner at night; they force the

  sick and elderly out of bed; they hound us until we want to rip the telephone out of the

  wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

  subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

  Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

                                     NATURE OF THE ACTION

     10. Terminix is one of the largest residential and commercial pest control companies in the

  world, operating in 47 states throughout the United States. Its services include, but are not

  limited to, protection against and the treatment of insects, termites, mosquitos and bed bugs.

     11. Terminix is a wholly owned subsidiary of ServiceMaster.

     12. Terminix offers residential consumers a variety of renewable annual protection plans. In

  an effort to increase its bottom line and garner market share in the pest control industry,

  Defendant engaged in a systemic marketing campaign involving artificial or prerecorded voice

  calls – commonly known as “robocalls” – to consumers’ cellular telephone numbers regarding

  the sale of Terminix services and/or the renewal of Terminix annual protection plans. However,

  Defendant did not obtain prior written express consent for these calls. Instead, Defendant

  queried its database of telephone numbers for consumers who may have previously purchased

  pest control services or annual protection plans from Terminix and placed autodialed calls to the

  cellular telephone numbers of these consumers, many of whom do not use Terminix services



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  and/or have not purchased a Terminix renewable annual protection plan. As a result, many

  consumers received the above-described autodialed calls to their cellular telephone numbers

  from Defendant, despite the fact that they did not provide prior express consent and/or have no

  business relationship with Defendant.

     13. Defendant’s robocalls did not provide consumers the opportunity to opt out of or request

  the cessation of Defendant’s calls. However, even when consumers attempted to opt-out by

  answering Defendant’s calls, Defendant ignored these requests and continued placing the illicit

  autodialed calls.

     14. As a result of the calls described above, Plaintiff and putative Class Members suffered an

  invasion of privacy, as well as particularized and concrete injuries, including the inducement of

  stress, anxiety, nervousness, embarrassment, distress, and aggravation. Plaintiff and putative

  Class Members also suffered out-of-pocket losses, including the monies paid to their wireless

  carriers for the receipt of such calls. Additionally, due to both the answered and unanswered

  calls placed by Defendant, Plaintiff and putative Class Members suffered the expenditure of their

  time, exhaustion of their cellular telephone batteries, unavailability of their cellular telephones

  while Defendant’s calls were incoming, and trespass upon their respective chattels. All of the

  above-mentioned injuries were caused by, and/or directly related to, Defendant’s placement of

  calls to Plaintiff and putative Class Members by using an ATDS to call their cellular telephone

  numbers.

     15. Defendant repeatedly made, or caused to be made, unsolicited calls to consumers’

  cellular telephone numbers using an autodialer, in violation of the TCPA.

     16. In response to Defendant’s unlawful conduct, Plaintiff filed the instant lawsuit and seeks

  an injunction requiring Defendant to cease all unsolicited cellular telephone calls and an award



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  of statutory damages and actual damages to putative Class Members under the TCPA, together

  with costs and reasonable attorneys’ fees.

                           PLAINTIFF’S FACTUAL ALLEGATIONS

     17. At all relevant times, Plaintiff was an individual residing in the state of Florida. She is a

  “person” as defined by 47 U.S.C. § 153(39).

     18. Plaintiff has been a Verizon Wireless subscriber and holder of her cellular telephone

  number, (850) XXX-3795, since 2010.

     19. Between August and December, 2015, Defendant placed nineteen (19) calls to Plaintiff’s

  cellular telephone number. Specifically, Defendant placed calls to Plaintiff’s cellular telephone

  number on August 26, 27, 29 and 31, 2015; September 1, 24, 25, 28 and 29, 2015; October 1,

  2015; November 3, 5, 11, 13, 18, 20, 24 and 25, 2015; and December 7, 2015. The calls, which

  originated from telephone number (251) 340-8818, identified an intended recipient who is

  unknown to Plaintiff and used an artificial or prerecorded voice regarding Terminix pest control

  services.

     20. All of the calls placed by Defendant to Plaintiff’s cellular telephone number were made

  using an ATDS, which has the capacity to store or produce telephone numbers to be called, using

  a random or sequential number generator (including but not limited to a predictive dialer) or an

  artificial or prerecorded voice and to dial such numbers, as specified by 47 U.S.C § 227(a)(1).

     21. Defendant’s prerecorded messages, as received by Plaintiff, did not provide her the

  opportunity to opt out of or request the cessation of Defendant’s autodialed calls.

     22. Plaintiff has never purchased pest control services from Defendant or otherwise

  conducted business with Defendant.




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     23. Plaintiff did not provide her cellular telephone number to Defendant, nor did she ever

  provide prior express consent for Defendant to call her cellular telephone number regarding pest

  control services or any other subject matter.

     24. On or around December 2, 2015, Plaintiff’s husband, Patrick Brown (“Mr. Brown”),

  placed a call to Defendant at (866) 959-4972 to request that Defendant cease calling Plaintiff’s

  cellular telephone number. Mr. Brown placed this call from his cellular telephone number, (850)

  XXX-3997. During this call, Mr. Brown informed a Terminix employee that Plaintiff was not

  the intended recipient of the autodialed calls, and that he and Plaintiff did not know the intended

  recipient of the calls. Mr. Brown also asked Defendant to stop calling Plaintiff’s cellular

  telephone number. A Terminix employee assured Mr. Brown that the calls would stop.

     25. Despite Defendant’s assurances to the contrary, Defendant continued to place autodialed

  calls using an artificial or prerecorded voice to Plaintiff’s cellular telephone number regarding

  pest control services.

     26. On or around December 7, 2015, Plaintiff answered one of Defendant’s calls to her

  cellular telephone number. During this call, she reiterated to a Terminix employee that she was

  not the intended recipient of Defendant’s calls and requested that Defendant cease calling her

  cellular telephone number. The Terminix employee assured Plaintiff that the calls would stop.

     27. On or around December 15, 2015, Mr. Brown placed another call to Defendant at (251)

  340-8810 and reiterated to a Terminix employee that Plaintiff was not the intended recipient of

  the autodialed calls, and that he and Plaintiff did not know the intended recipient of the calls.

  Mr. Brown placed this call from his cellular telephone number, (850) XXX-3997. He asked

  Defendant to stop calling Plaintiff’s cellular telephone number. Defendant assured Mr. Brown

  that the calls would stop.



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     28. Plaintiff suffered particularized and concrete injuries as a result of the above-described

  autodialed calls. These injuries include: invasion of privacy, and the inducement of stress,

  anxiety, nervousness, embarrassment, distress, and aggravation. Plaintiff also suffered out-of-

  pocket losses, including the monies paid to her wireless carrier for the receipt of Defendant’s

  calls. Additionally, due to both the answered and unanswered calls placed by Defendant,

  Plaintiff suffered the expenditure of her time, exhaustion of her cellular telephone battery,

  unavailability of her cellular telephone while Defendant’s calls were incoming, and trespass

  upon her chattel.

     29. The telephone number Defendant used to contact Plaintiff via an automatic telephone-

  dialing system was assigned to a cellular telephone service, as described in 47 U.S.C. §

  227(b)(1)(A)(iii).

     30. The pertinent calls were not placed for emergency purposes, as defined in 47 U.S.C. §

  227(b)(1)(A).

     31. Defendant’s placement of calls using an automatic telephone-dialing system for non-

  emergency purposes and without Plaintiff’s prior express consent violated 47 U.S.C. §

  227(b)(1)(A).

                                     CLASS ALLEGATIONS

     32. Pursuant to Federal Rules of Civil Procedure 23(a), (b)(2), (b)(3) and (c)(4) and as

  detailed in the individual counts below, Plaintiff brings this action on behalf of herself and all

  others similarly situated. Specifically, Plaintiff seeks to represent the following persons (“the

  Class” or “Class Members”):

             All persons in the United States who, between August 22, 2012 and the
             present, (1) received a non-emergency call to their cellular telephone
             numbers; (2) through the use of an automatic telephone dialing system or an



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             artificial or prerecorded voice; (3) from Defendant; (4) regarding pest control
             services.

  The Class definition is subject to amendment as needed.

     33. Excluded from the Class are Defendant, its employees, agents and assigns, and any

  members of the judiciary to whom this case is assigned, their respective court staffs, and

  Plaintiff’s counsel. Also excluded from this action are any claims for personal injury, wrongful

  death and/or emotional distress. Members of the above-defined Class can be easily identified

  through Defendant’s records.

                                                Numerosity

     34. At the time of filing, Plaintiff does not know the exact number of putative Class

  Members. According to its website, Terminix services more than 2.8 million residential and

  commercial customers in 47 states. The volume of Terminix customers and locations affirms

  that putative Class Members likely number in the thousands or hundreds of thousands, and are

  geographically disbursed throughout the United States. Moreover, the number of putative Class

  Members can be determined from the business records maintained by Terminix.

     35. The alleged size and geographic disbursement of the putative Class, and relatively

  modest value of each individual claim, makes joinder of all putative Class Members

  impracticable or impossible.

                       Predominance of Common Questions of Law and Fact

     36. This action involves common questions of law and fact, which predominate over any

  questions affecting individual Class Members. The common legal and factual questions include

  at least the following:

                            a. whether Defendant used an automatic telephone-dialing system to

                               place calls to cellular telephones;

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                    b. whether between August 22, 2012 and the present, Defendant used an

                       automatic telephone-dialing system to place calls to the cellular

                       telephones of Plaintiff and putative Class Members;

                    c. whether between August 22, 2012 and the present, Defendant used an

                       artificial or prerecorded voice in connection with its placement of

                       autodialed calls to the cellular telephones of Plaintiff and putative

                       Class Members;

                    d. whether Defendant is subject to the TCPA;

                    e. whether Defendant can show that it obtained prior express consent

                       from Plaintiff and putative Class Members to place calls to their

                       cellular telephones using an automatic telephone-dialing system;

                    f. whether Defendant’s conduct violates the TCPA;

                    g. whether Defendant’s conduct was negligent;

                    h. whether Defendant’s conduct was knowing and/or willful;

                    i. whether Defendant is liable for damages, and the amount of such

                       damages;

                    j. whether Plaintiff and putative Class Members are entitled to

                       declaratory relief;

                    k. whether Defendant should be enjoined from engaging in such conduct

                       in the future; and

                    l. whether Plaintiff and putative Class Members are entitled to any other

                       remedy.




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                                              Typicality

      37. Plaintiff’s claims are typical of the claims of the putative Class Members, as Plaintiff and

  putative Class Members have been injured by Defendant’s uniform misconduct – the placement

  of calls to cellular telephone numbers for non-emergency purposes using an automatic telephone-

  dialing system without prior express consent.

      38. Like Plaintiff, putative Class Members suffered particularized and concrete injuries as a

  result of the above-described autodialed calls, including: an invasion of privacy and the

  inducement of stress, anxiety, nervousness, embarrassment, distress and aggravation.            Like

  Plaintiff, putative Class Members also suffered out-of-pocket losses, including the monies paid

  to their wireless carriers for the receipt of such calls. Additionally, due to both the answered and

  unanswered calls placed by Defendant, Plaintiff and putative Class Members suffered the

  expenditure of their time, exhaustion of their cellular telephone batteries, unavailability of their

  cellular telephones while Defendant’s calls were incoming, and trespass upon their respective

  chattels.

      39. Plaintiff shares the aforementioned facts and legal claims and/or questions with all

  putative Class Members. Further, a sufficient relationship exists between Defendant’s conduct

  and the damages sustained by Plaintiff and putative Class Members.

                                              Adequacy

      40. Plaintiff will fairly and adequately protect the interests of putative Class Members and is

  committed to the vigorous prosecution of this action. Plaintiff has retained counsel experienced

  in complex consumer class action litigation and matters specifically involving TCPA violations.

  Plaintiff intends to prosecute this action vigorously, and has no interest adverse or antagonistic to

  those of the putative Class.



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                                             Superiority

     41. A class action is superior to other available methods for the fair and efficient adjudication

  of this controversy. Individual joinder of all putative Class Members’ claims is impracticable or

  impossible for at least the following reasons:

                         a. The Class claims predominate over any questions of law or fact (if

                            any) affecting only individual Class Members;

                         b. Absent a Class, the putative Class Members will continue to suffer

                            damage and Defendant’s violations of the TCPA will continue without

                            remedy;

                         c. Given the size of individual Class Members’ claims, few (if any)

                            putative Class Members could afford to or would seek legal redress

                            individually for the wrongs Defendant committed and continues to

                            commit against them, and absent Class Members have no substantial

                            interest in individually controlling the prosecution of individual

                            actions;

                         d. Individualized litigation would create the danger of inconsistent or

                            contradictory judgments arising from the same set of facts, while also

                            increasing the delay and expense to all parties and the courts.

                            Comparatively, the class action device provides economies of scale

                            and allows putative Class Members’ claims to be comprehensively

                            administered and uniformly adjudicated in a single proceeding;




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                    e. When the liability of Defendant has been adjudicated, claims of all

                       putative Class Members can be administered efficiently and

                       determined uniformly by the Court;

                    f. No difficulty impedes the action’s management by the Court as a class

                       action, which is the best available means by which Plaintiff and

                       putative Class Members can seek redress for the damages caused to

                       them by Defendant’s uniform misconduct;

                    g. The litigation and trial of Plaintiff’s claims are manageable;

                    h. Defendant has acted and/or refused to act on grounds generally

                       applicable to Plaintiff and the putative Class by placing calls to their

                       cellular telephones for non-emergency purposes and without their prior

                       express consent, rendering just and appropriate final injunctive relief

                       for the putative Class; and

                    i. Because Plaintiff seeks injunctive relief and corresponding declaratory

                       and equitable relief for the entire putative Class, the prosecution of

                       separate actions by individual Class Members would create a risk of

                       inconsistent or varying adjudications with respect to individual Class

                       Members, and establishing incompatible standards of conduct for

                       Defendant. Additionally, bringing individual claims would burden the

                       courts and result in an inefficient method of resolving this action. As a

                       practical matter, adjudications with respect to individual Class

                       Members would be dispositive of the interests of other putative Class

                       Members who are not parties to the adjudication and may impair or



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                             impede their ability to protect their respective interests. Consequently,

                             class treatment is a superior method for adjudication of the issues in

                             this case.

                                          CAUSES OF ACTION

                                             COUNT I
                  Negligent Violation of the Telephone Consumer Protection Act
                                       47 U.S.C. §§ 227, et seq.

     42. Plaintiff incorporates by reference the allegations in Paragraphs 1 through 41.

     43. Without prior express consent, Defendant placed calls for non-emergency purposes to the

  cellular telephones of Plaintiff and putative Class Members using an automatic telephone-dialing

  system with the capacity to store or produce telephone numbers to be called, and using an

  artificial or prerecorded voice.

     44. The foregoing acts constitute numerous and multiple negligent violations of the TCPA,

  including, but not limited to, each of the above-cited provisions of 47 U.S.C. §§ 227, et seq.

     45. Under 47 U.S.C. § 227(b)(3)(B), and as a result of the alleged negligent violations of the

  TCPA, Plaintiff and putative Class Members are entitled to an award of actual damages and

  $500.00 in statutory damages for each and every non-emergency call placed in violation of the

  TCPA.

     46. Plaintiff and putative Class Members are also entitled to and seek injunctive relief

  prohibiting future violations of the TCPA.

     47. Plaintiff and putative Class Members are also entitled to an award of litigation costs and

  expenses.




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                                            COUNT II
            Knowing and/or Willful Violation of the Telephone Consumer Protection Act
                                     47 U.S.C. §§ 227, et seq.

      48. Plaintiff incorporates by reference the allegations in Paragraphs 1 through 41.

      49. Without prior express consent, Defendant placed calls for non-emergency purposes to the

  cellular telephone numbers of Plaintiff and putative Class Members using an automatic

  telephone-dialing system with the capacity to store or produce telephone numbers to be called,

  and using an artificial or prerecorded voice.

      50. The foregoing acts constitute numerous and multiple knowing and/or willful violations of

  the TCPA, including, but not limited to, each of the above cited provisions of 47 U.S.C. §§ 227,

  et seq.

      51. Pursuant to 47 U.S.C. § 227(b)(3)(B), and as a result of the alleged knowing and/or

  willful violations of the TCPA, Plaintiff and putative Class Members are entitled to an award of

  actual damages and $1,500.00 in statutory damages for each and every non-emergency call

  placed in violation of the statute.

      52. Plaintiff and putative Class Members are also entitled to and seek injunctive relief

  prohibiting future violations of the TCPA.

      53. Plaintiff and putative Class Members are also entitled to an award of litigation costs.

                                        PRAYER FOR RELIEF

            WHEREFORE, Plaintiff respectfully requests that the Court grant Plaintiff and all

  putative Class Members the following relief against Defendant:

            A.    $500.00 in statutory damages for each and every call negligently placed by

  Defendant in violation of 47 U.S.C. § 227(b)(1) of the TCPA;




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         B.     $1,500.00 in statutory damages for each and every call willfully placed by

  Defendant in violation of 47 U.S.C. § 227(b)(1) of the TCPA;

         C.     An award of actual damages resulting from Defendant’s violations of the TCPA;

         D.     Injunctive relief prohibiting future violations of the TCPA;

         E.     An award of litigation costs and expenses to Plaintiff’s counsel;

         F.     An order certifying this matter as a class action pursuant to Federal Rule of Civil

  Procedure 23, certifying the Class defined herein, appointing Plaintiff as Class Representative,

  and appointing Plaintiff’s counsel as Class Counsel; and

         G.     Any additional relief that the Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

         Plaintiff demands a trial by jury on all counts so triable.



  Dated: August 22, 2016                        Respectfully submitted,

                                                MORGAN & MORGAN
                                                COMPLEX LITIGATION GROUP

                                                /s/ Jonathan B. Cohen
                                                Jonathan B. Cohen (Florida Bar No. 0027620)
                                                John A. Yanchunis (Florida Bar No. 324681)
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                                                Tampa, FL 33602
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                                                jyanchunis@forthepeople.com

                                                and

                                                MORGAN & MORGAN, P.A.
                                                Tav Gomez (Florida Bar No. 0338620)
                                                201 N. Franklin St., 7th Floor
                                                Tampa, FL 33602
                                                Telephone: (813) 225-6745

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                                     tgomez@forthepeople.com

                                     Attorneys for Plaintiff




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